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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


         In re:                                                   Chapter 11

         SHOWFIELDS, INC., et al.,                                Case No.: 23-43643 (JMM)

                                  Debtor.                         (Jointly Administered)



             ORDER PURSUANT TO LBR 9077-1, SCHEDULING A HEARING
                   ON SHORTENED NOTICE TO CONSIDER DEBTOR’S
              APPLICATION TO EMPLOY THE LAW OFFICE OF RACHEL
               S. BLUMENFELD PLLC AS ATTORNEY FOR THE DEBTOR
                           AND DEBTOR IN POSSESSION

        UPON the motion of the Jointly Administered Debtors Showfields, Inc., et al., (the “Debtors”) by

and through their proposed counsel, the Law Office of Rachel S. Blumenfeld, PLLC (the “Movant”),

seeking entry of an Order, pursuant to 11 U.S.C. § 362(c)(3)(B), extending the automatic stay in the

above-captioned case, employing Movant as counsel for the Debtors in the above-captioned cases,

pursuant to 11 U.S.C. §§ 105(a), 327, 330, and 331 (JMM) [ECF No. 13 & 38] (the “Motion”); and

upon the Affidavit of Rachel S. Blumenfeld, Esq., pursuant to E.D.N.Y. LBR 9077-1, in support of the

Debtor’s request for an Order scheduling a hearing to consider the Motion on shortened notice (the

“Emergency Motion”) [ECF No. 43] (JMM); and after due deliberation thereon and good and sufficient

cause appearing thereof, it is hereby

        ORDERED, that a hearing (the "Hearing") to consider the Motion shall be held on No-

vember 1, 2023 at 3:00 p.m., before the Honorable Jil Mazer Marino, United States Bankruptcy

Judge, U.S. Bankruptcy Court for the Eastern District of New York, 271-C, Courtroom 3529,

Cadman Plaza East, Brooklyn, New York 11201; and it is further

        ORDERED, that the Hearing may be held in person, by phone, or by videoconference.

Regardless of whether you intend to appear in person, by phone, or by videoconference, those

intending to appear at the Hearing must register with eCourt Appearances no later than one hour
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prior to the Hearing. The phone number or video link for the Hearing will be emailed only to

those that register with eCourt Appearances in advance of the Hearing. Instructions for register-

ing with eCourt Appearances can be found at https://www.nyeb.uscourts.gov/node/2126. If you

do not have internet access or are otherwise unable to register with eCourt Appearances, you

may call or email Judge Mazer-Marino’s courtroom deputy for instructions at (347) 394-1844,

JMM_Hearings@nyeb.uscourts.gov; and it is further

        ORDERED, that the Movant shall serve a copy of this Order, together with a copy of the

Motion and supporting papers, by federal express overnight delivery service (or, upon agree-

ment by the party in interest, service may be made by email or facsimile) unless the below

parties accept service by email address on (JMM): (1) the U.S. Trustee, (2) the Sub V Trustee;

(3) the Debtor, (4) parties having filed a notice of appearance, (5) the secured creditors, and (6)

the ten largest unsecured creditors by October 27, 2023 by 5:00 p.m., which shall be deemed

good and sufficient service hereof; and it is further

        ORDERED, that the Debtor shall file a certificate of service with the Clerk of the Court

by 5:00 p.m. on October 30, 2023 reflecting that service was executed in accordance with this

Order; and it is further

        ORDERED, that any responses or objections to the relief requested in the Motion shall

may (JMM) be raised at the Hearing.




 Dated: October 27, 2023                                         ____________________________
        Brooklyn, New York                                              Jil Mazer-Marino
                                                                  United States Bankruptcy Judge
